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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF OHIO
                             WESTERN DIVISION, CINCINNATI

JOSE MARIA DECASTRO,                             :   CASE NO. 1:22-cv-00204
                                                 :
       Plaintiff,                                :   Judge Michael R. Barrett
                                                 :
v.                                               :   Magistrate Judge Stephanie K. Bowman
                                                 :
PAM WAGNER, ET AL.,                              :
                                                 :
       Defendants.                               :


  DEFENDANTS PAM WAGNER, BRAD SPOLJARIC, CHANCE BLANKENSHIP,
   EVAN MCNIGHT, ROBERT FOUCH, AND THE CITY OF IRONTON, OHIO’S
 MOTION TO EXTEND THEIR TIME TO REPLY IN SUPPORT OF THEIR MOTION
                 FOR JUDGMENT ON THE PLEADINGS


      Now come Defendants Pam Wagner, Brad Spoljaric, Chance Blankenship, Evan Mcnight,

Robert Fouch, and the City of Ironton, Ohio (“Ironton Defendants”), by and through undersigned

counsel, and hereby move the Court to extend their current deadline of January 27, 2023 to file their

reply in support of their Motion for Judgment on the Pleadings (Doc. 23) in this matter. The Ironton

Defendants respectfully request that the Court grant an extension of fourteen (14) days, or until on or

before February 10, 2023. The reasons set forth in the accompanying Memorandum. A proposed

Order is attached hereto.

                                                      Respectfully submitted,

                                                      SURDYK, DOWD & TURNER CO., L.P.A.

                                                      /s/ Nathaniel W. Rose _________
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                                                      Dawn M. Frick (0069068)
                                                      Nathaniel W. Rose (0099458)
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                                                              Trial Attorneys for Pam Wagner, Brad
                                                              Spoljaric, Chance Blankenship, Evan
                                                              McNight, Robert Fouch, and the City of
                                                              Ironton, Ohio


                                               MEMORANDUM

         The Ironton Defendants respectfully request that the Court extend their deadline to file their

Reply from the current deadline of January 27, 2023 for fourteen (14) days or February 10, 2023.

The Ironton Defendants request this extension because Plaintiff has failed to properly serve the

Ironton Defendants with the video concerning the incident at issue, otherwise known as Doc. 20-1.

Furthermore, the Ironton Defendants have made multiple efforts to both the Plaintiff and Clerk’s

office to obtain a copy of the video.

         As to the Plaintiff, he did not serve the Ironton Defendants with the exhibit containing any

video he cites to in both his Amended Complaint and in his Memorandum in Opposition (Docs. 20,

32.) Plaintiff’s Amended Complaint contains allegations of First Amendment, Fourth Amendment,

and Fourteenth Amendment violations stemming from his arrest by the Ironton Defendants. (See

Doc. 20.) The video presumably contains the minutes leading up to the arrest and the arrest itself and

thus is at the crux of the allegations contained in Plaintiff’s Amended Complaint. As such, the

Ironton Defendants cannot fully respond to Plaintiff’s references thereto. Defendants would be

prejudiced if forced to respond without access to the copy of the video filed with the Court. 1 The

Ironton Defendants attempted to obtain the video directly from the Plaintiff on multiple occasions

but received no response. Attached hereto as Exhibits A, B, C, and D are true and accurate copies of


1 The Ironton Defendants are in possession of a video of the incident at issue, however, it does not match the time
stamps and actions alleged in Plaintiff’s Amended Complaint (Doc. 20) and Response in Opposition to Defendants’
Motion for Judgment on the Pleadings (Doc. 32). Thus, we believe the video filed with the Court is not the same as the


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the emails and verification of delivery that they were successfully sent to the email address listed in

Plaintiff’s Amended Complaint. As of the time of this filing the Ironton Defendants have not heard

back from Plaintiff regarding the video. The Ironton Defendants also reached out to Plaintiff to

determine if he would oppose the herein request for extension, but also did not receive a response

from Plaintiff on that issue.

        Regarding the Ironton Defendants’ efforts made through the Court, counsel for the Ironton

Defendants spoke multiple times with Emily H. at the Clerk’s office about obtaining a copy of the

video. She informed counsel that a significant portion of Magistrate Judge Bowman’s case files and

records had been moved to storage while Magistrate Judge Bowman’s chambers are being

renovated. Furthermore, access to this area is limited. Subsequently, we spoke with Magistrate Judge

Bowman’s court room deputy, Kevin Moser, who was able to retrieve the flash drive at issue.

However, the video file is too large to be sent via email. Thus, the Ironton Defendants would need to

travel to the Court to view and/or otherwise make a copy of the flash drive. As such, the Ironton

Defendants are in the process of arranging a date and time with Kevin Moser to make that copy.

However, because of this will need additional time to respond to Plaintiff’s Memorandum.

        This is Ironton Defendants’ first request for an extension, and they do not seek this extension

for undue delay or prejudice to any party. Therefore, the Ironton Defendants respectfully request that

the Court grant them an extension of fourteen (14) days, or until on or before February 10, 2023, to

attain the video at issue and fully reply to Plaintiff’s Memorandum in Opposition (Doc. 32).




video the Ironton Defendants currently possess.


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                                                      Respectfully submitted,

                                                      SURDYK, DOWD & TURNER CO., L.P.A.

                                                      /s/ Nathaniel W. Rose_________
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                                                      Trial Attorneys for Pam Wagner, Brad
                                                      Spoljaric, Chance Blankenship, Evan
                                                      McNight, Robert Fouch, and the City of
                                                      Ironton, Ohio

                                 CERTIFICATE OF SERVICE

        I hereby certify that on January 25, 2023, I electronically filed the foregoing document with
the Clerk of the Court using the CM/ECF system, a copy of which will automatically be forwarded
to the parties or their counsel of record and I certify that I have mailed by United States Postal
Service First Class mail and by electronic mail, the document to the parties not participating in the
electronic filing system:

       Jose Maria DeCastro
       1258 Franklin Street
       Santa Monica, CA 90404
       amalaskan@gmail.com


                                                     /s/ Nathaniel W. Rose_________
                                                     Nathaniel W. Rose (0099458)




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